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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


ANGELA ALELLO,                      )
                                    )                 Case No.: 2:17-cv-8979
            Plaintiff               )
vs.                                 )                  Judge: Jane Triche Milazzo
                                    )
RECEIVABLE RECOVERY                 )                 Magistrate: Daniel E. Knowles, III
SERVICES, LLC,                      )
                                    )
            Defendant               )
____________________________________)


                                STIPULATION OF DISMISSAL

       Plaintiff, Angela Alello, and Defendant, Receivable Recovery Services, LLC, by counsel,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, stipulate that the above

action be and it is voluntarily dismissed, with prejudice.

       RESPECTFULLY SUBMITTED, this the 6th day of March 2018.

                                              Angela Alello, individually

                                      BY:             /s/ Samuel J. Ford
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                             Receivable Recovery Services, LLC

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                               /s/ Jennifer M. Young
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